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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          )                 CASE NO.: 1:18-cv-01724
              Plaintiff,                  )
vs.                                       )
                                          )
J & A S MADISON, LLC,                     )
an Indiana Limited Liability Company,     )
                                          )
              Defendant.                  )
_________________________________________ )

                                         COMPLAINT

       Plaintiff, DENNIS TOOLEY, through his undersigned counsel, hereby files this

Complaint and sues J & A S MADISON, LLC, an Indiana Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a

resident of the State of Indiana in Johnson County.




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           4.        Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the

ADA. MR. TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and

affects his ability to walk and stand.

           5.       Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several

major life activities and requires the use of mobility aids including a wheelchair, walker and/or a

cane depending on his level of pain and fatigue on a daily basis. 1

           6.       Defendant, J & A S MADISON, LLC, (hereinafter referred to as “Defendant”), is

an Indiana Limited Liability Company registered to do business in the State of Indiana. Upon

information and belief, Defendant is the owner, lessee, and/or operator of the real property and

improvements, which are the subjects of this action, to wit: the “Property” known as Fazoli’s

restaurant, generally located at 8401 S. Madison Ave, Indianapolis, IN 46227. Defendant is

responsible for complying with the obligations of the ADA.

           7.       All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                            COUNT I - VIOLATION OF TITLE III OF THE
                              AMERICANS WITH DISABILITIES ACT

           8.       Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

           9.       The Property, a Fazoli’s fast food chain restaurant, is open to the public and

provides goods and services to the public.

           10.      Plaintiff MR. TOOLEY has visited the Property numerous times over the past

year and attempted to utilize the goods and services offered at the Property. MR. TOOLEY

plans to return to the Property in the near future.


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    Mr. Tooley is capable of walking short distances without assistance on good days.

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       11.     While at the Property, MR. TOOLEY experienced serious difficulty accessing the

goods and utilizing the services due to the architectural barriers discussed herein.

       12.     MR. TOOLEY continues to desire to visit the Property, but fears that he will

again encounter serious difficulty and safety hazards due to the barriers discussed herein which

still exist. Furthermore, but for the barriers to access described herein, Plaintiff would visit the

Property more often.

       13.     Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et

seq. and is discriminating against the Plaintiff due to, but not limited to, its failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

               A.      Plaintiff encountered inaccessible parking spaces designated for disabled

                       use due to excessive slopes caused by built-up curb ramps which protrude

                       into the parking spaces and their access aisles.

               B.      Plaintiff encountered inaccessible parking spaces designated for disabled

                       use due to a lack of signage to identify the spaces exclusively for disabled

                       use.

               C.      Plaintiff encountered inaccessible parking spaces designated for disabled

                       use due to a shortage of disabled use parking spaces. Specifically, there

                       are only two (2) disabled use spaces provided for a parking lot which

                       includes approximately seventy five (75) total spaces.

               D.      Plaintiff encountered inaccessible curb ramps from the disabled use

                       parking spaces to the Property sidewalk due to pavement in disrepair,



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                       excessively steep slopes and a lack of smooth transitions. Additionally,

                       one of the ramps can be obstructed when vehicles park in the adjacent

                       parking space.

               E.      Plaintiff encountered an inaccessible sidewalk route from the disabled

                       parking spaces to the front entrance due to a large square shaped

                       depression along the path of travel which is very hazardous for both able

                       bodied and disabled customers.

       14.     Plaintiff has visited the entire public premises described herein and encountered

numerous barriers throughout.

       15.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       16.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendant.

       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:



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       A.     That the Court declares that the Property owned, leased and/or

              operated by Defendant is in violation of the ADA;

       B.     That the Court enter an Order directing Defendant to alter its

              facility to make it accessible and useable by individuals with

              disabilities to the full extent required by Title III of the ADA;

       C.     That the Court enter an Order directing Defendant to evaluate and

              neutralize its policies and procedures towards persons with

              disabilities for such reasonable time so as to allow Defendant to

              undertake and complete corrective procedures.

       D.     That the Court award reasonable attorneys’ fees, costs (including

              expert fees), and other expenses of suit, to the Plaintiff; and

       E.     That the Court award such other and further relief as it deems

              necessary, just and proper.

Dated: June 6, 2018.

                                             Respectfully Submitted,


                                     By:     Louis I. Mussman           .
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